Case 2:11-cr-20551-RHC-MKM ECF No. 1320, PageID.10312 Filed 10/14/15 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

  UNITED STATES OF AMERICA

                       Plaintiff,

  v.                                               CIVIL NO.11-20551-18-DT


  ADELFO PAMATMAT,

                  Defendant(s).
  __________________________________/

       ORDER GRANTING MOTION TO WITHDRAW AS COUNSEL FOR DEFENDANT

          This matter has come before the court on the Motion to Withdraw filed on

  September 30, 2015 by attorneys Arthur Landau and Kevin Landau after the Defendant

  was found of guilty on Counts 1 and 2 on July 2, 2015. Sentencing is currently set for

  November 3, 2015 at 2:30 p.m.

          A hearing was held on October 9, 2015 and after hearing argument from counsel

  and the defendant, the court has determined that there is sufficient reason for Mr

  Landau to be permitted to withdraw as counsel for the defendant. Therefore,

          IT IS ORDERED for the reasons stated on the record the motion to withdraw is

  GRANTED. The Federal Defender’s Office is directed to appoint new counsel. Upon

  the filing of an appearance by the new attorney, this court will schedule a status

  conference with counsel.

                                             S/Robert H. Cleland
                                            ROBERT H. CLELAND
                                            UNITED STATES DISTRICT JUDGE


  Dated: October 14, 2015
Case 2:11-cr-20551-RHC-MKM ECF No. 1320, PageID.10313 Filed 10/14/15 Page 2 of 2




  I hereby certify that a copy of the foregoing document was mailed to counsel of record
  on this date, October 14, 2015, by electronic and/or ordinary mail.


                                           S/Lisa Wagner
                                          Case Manager and Deputy Clerk
                                          (313) 234-5522
